Case: 1:19-cr-00669 Document #: 649 Filed: 07/26/22 Page 1 of 1 PageID #:10668

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00669
                                                         Honorable Edmond E. Chang
Gregg Smith, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 26, 2022:


        MINUTE entry before the Honorable Edmond E. Chang: Attached is Court Set 1
of the Revised Verdict Forms. The rejection of the special−verdict forms is explained in
R. 648, the order accompanying the revised jury instructions.Emailed notice (eec)




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